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Fill in this information to identify your case:
Debtor 1               Mihai Pop
                          First Name      Middle Name                 Last Name
Debtor 2
(Spouse, if filing) First Name      Middle Name           Last Name
United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS                                       Check if this is an amended plan, and
                                                                                                                    list below the sections of the plan that
Case number:                                                                                                        have been changed.

(If known)


Official Form 113
Chapter 13 Plan                                                                                                                                     12/17


Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                        will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                  Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                  Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Debtor(s) will make regular payments to the trustee as follows:

$430.00 per Month for 36 months

Insert additional lines if needed.

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
             payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner.

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order.
                      Debtor(s) will make payments directly to the trustee.
                      Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.

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                    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                    return and will turn over to the trustee all income tax refunds received during the plan term.

                    Debtor(s) will treat income refunds as follows:



2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5       The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $15,480.00.

Part 3:   Treatment of Secured Claims

3.1       Maintenance of payments and cure of default, if any.

       Check one.
                None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                by the debtor(s).
Name of Creditor Collateral                     Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                payment                   arrearage (if any) on arrearage on arrearage                  total
                                                (including escrow)                               (if applicable)                        payments by
                                                                                                                                        trustee

                       Mike B
                       Construction Inc.
                       Current company
                       is not operating.
                       Debtor is now
                       working as
                       project manager
                       for another
                       company. There
                       are two vehicles
                       registered to the
                       corporation.
                       2014 Mercedes
                       Sprinter (Value
Ford Motor             via KBB at 3635)                                     Prepetition:
Company LLC            and 2022 Ford                     $1,200.00                    $0.00          0.00%                    $0.00              $0.00
                                                  Disbursed by:
                                                     Trustee
                                                     Debtor(s)
Insert additional claims as needed.

3.2       Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3       Secured claims excluded from 11 U.S.C. § 506.


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          Check one.
                  None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4       Lien avoidance.

Check one.
                    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5       Surrender of collateral.

          Check one.
                  None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                  The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
                  that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay
                  under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be
                  treated in Part 5 below.

Name of Creditor                                                           Collateral
                                                                           Mike B Construction Inc. Current company is not operating.
                                                                           Debtor is now working as project manager for another
                                                                           company. There are two vehicles registered to the corporation.
Chase                                                                      2014 Mercedes Sprinter (Value via KBB at 3635) and 2022 Ford
                                                                           Mike B Construction Inc. Current company is not operating.
                                                                           Debtor is now working as project manager for another
                                                                           company. There are two vehicles registered to the corporation.
Huntington Bank                                                            2014 Mercedes Sprinter (Value via KBB at 3635) and 2022 Ford
                                                                           Mike B Construction Inc. Current company is not operating.
                                                                           Debtor is now working as project manager for another
                                                                           company. There are two vehicles registered to the corporation.
SBA                                                                        2014 Mercedes Sprinter (Value via KBB at 3635) and 2022 Ford

Insert additional claims as needed.


Part 4:   Treatment of Fees and Priority Claims

4.1       General
          Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
          without postpetition interest.

4.2       Trustee’s fees
          Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
          during the plan term, they are estimated to total $1,548.00.

4.3       Attorney's fees.

          The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,525.00.

4.4       Priority claims other than attorney’s fees and those treated in § 4.5.

          Check one.
                  None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

          Check one.
                  None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



Part 5:   Treatment of Nonpriority Unsecured Claims


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5.1        Nonpriority unsecured claims not separately classified.

           Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
           providing the largest payment will be effective. Check all that apply.

             The sum of $     .
               10.00 % of the total amount of these claims, an estimated payment of $ 9,407.00 .
             The funds remaining after disbursements have been made to all other creditors provided for in this plan.



             If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
             $ 1,721.25 . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least
             this amount.

5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                     None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3        Other separately classified nonpriority unsecured claims. Check one.

                     None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:     Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
           contracts and unexpired leases are rejected. Check one.

                     None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:     Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

Part 8:     Nonstandard Plan Provisions

8.1        Check "None" or List Nonstandard Plan Provisions
                  None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Part 9:     Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ Mihai Pop                                                        X
       Mihai Pop                                                             Signature of Debtor 2
       Signature of Debtor 1

       Executed on     August 24, 2023                                           Executed on

X      /s/ David H. Cutler                                                Date     August 24, 2023
       David H. Cutler 034403
       Signature of Attorney for Debtor(s)



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By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                 $0.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                                                         $0.00

c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                    $0.00

d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                          $0.00

e.   Fees and priority claims (Part 4 total)                                                                                                  $6,073.00

f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                                $9,407.00

g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                               $0.00

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                          $0.00

i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                    $0.00

j.   Nonstandard payments (Part 8, total)                                                                   +                                    $0.00


Total of lines a through j                                                                                                                $15,480.00




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